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                                                                               2024 Jul-30 PM 12:57
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


              UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ALABAMA
                        WESTERN DIVISION

 State of ALABAMA, et al.,
                               Plaintiffs,
       v.                                    No. 7:24-cv-533-ACA

 Miguel CARDONA, in his official
 Capacity as U.S. Secretary of
 Education, et al.,
                             Defendants.

                      EMERGENCY NOTICE OF APPEAL
      Plaintiffs, the States of Alabama, Florida, Georgia, and South Carolina, and

Independent Women’s Network, Parents Defending Education, Speech First, Inc.,

and Independent Women’s Law Center, provide this emergency notice of appeal to

the U.S. Court of Appeals for the Eleventh Circuit from this Court’s denial of its

motion for a preliminary injunction on July 30, 2024. See Doc. 58.




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Dated: July 30, 2024                      Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE
      This notice complies with this Court’s orders because it is one page, excluding

the parts that can be excluded, is double-spaced, and is prepared in 14-point Times

New Roman.

 Dated: July 30, 2024                        s/ Cameron T. Norris




                         CERTIFICATE OF SERVICE
      I filed this notice on the Court’s electronic filing system, which will email

everyone requiring notice.

 Dated: July 30, 2024                        s/ Cameron T. Norris




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